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                Exhibit 6
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Table: ACSDT5Y2011.B05003



                          SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2011
DATASET:                      ACSDT5Y2011
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     Total population
FTP URL:                      https://www2.census.gov/programs‐surveys/acs/summary_file/2011/data/

API URL:                      https://api.census.gov/data/2011/acs/acs5

USER SELECTIONS
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=American+Community+Survey+2007‐2011&g=040XX00US48&tid=ACSDT5Y2011.B05003




data.census.gov | Measuring America's People, Places, and Economy                                                                        1
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Table: ACSDT5Y2011.B05003


TABLE NOTES                   Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Data and Documentation section.




                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau''s Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities and towns and estimates of housing units for states and counties.

                              Explanation of Symbols: * An ''**'' entry in the margin of error column indicates that either no sample observations or too
                              few sample observations were available to compute a standard error and thus the margin of error. A statistical test is not
                              appropriate.

                               * An ''‐'' entry in the estimate column indicates that either no sample observations or too few sample observations were
                              available to compute an estimate, or a ratio of medians cannot be calculated because one or both of the median estimates
                              falls in the lowest interval or upper interval of an open‐ended distribution.

                               * An ''‐'' following a median estimate means the median falls in the lowest interval of an open‐ended distribution.

                               * An ''+'' following a median estimate means the median falls in the upper interval of an open‐ended distribution.

                               * An ''***'' entry in the margin of error column indicates that the median falls in the lowest interval or upper interval of an
                              open‐ended distribution. A statistical test is not appropriate.

                               * An ''*****'' entry in the margin of error column indicates that the estimate is controlled. A statistical test for sampling
                              variability is not appropriate.

                               * An ''N'' entry in the estimate and margin of error columns indicates that data for this geographic area cannot be displayed
                              because the number of sample cases is too small.

                               * An ''(X)'' means that the estimate is not applicable or not available.




data.census.gov | Measuring America's People, Places, and Economy                                                                                                2
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                              Estimates of urban and rural population, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2000 data. Boundaries for urban areas have not been updated since Census 2000. As a result, data for urban and
                              rural areas from the ACS do not necessarily reflect the results of ongoing urbanization.

                              While the 2007‐2011 American Community Survey (ACS) data generally reflect the December 2009 Office of Management
                              and Budget (OMB) definitions of metropolitan and micropolitan statistical areas; in certain instances the names, codes, and
                              boundaries of the principal cities shown in ACS tables may differ from the OMB definitions due to differences in the effective
                              dates of the geographic entities
                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see Accuracy of the Data). The effect of nonsampling error is not represented in these
                              Source: U.S. Census Bureau, 2007‐2011 American Community Survey


COLUMN NOTES                  None




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Table: ACSDT5Y2011.B05003


                                      Texas

  Label                               Estimate               Margin of Error
Total:                               24,774,187            *****
 Male:                               12,291,119            ±1,876
   Under 18 years:                   3,465,129             ±1,534
     Native                          3,290,022             ±3,053
     Foreign born:                   175,107               ±2,800
       Naturalized U.S. citizen      20,763                ±1,144
       Not a U.S. citizen            154,344               ±2,765
   18 years and over:                8,825,990             ±1,310
     Native                          6,967,567             ±9,530
     Foreign born:                   1,858,423             ±9,230
       Naturalized U.S. citizen      589,028               ±4,693
       Not a U.S. citizen            1,269,395             ±9,484
 Female:                             12,483,068            ±1,876
   Under 18 years:                   3,309,333             ±1,578
     Native                          3,146,032             ±3,668
     Foreign born:                   163,301               ±3,192
       Naturalized U.S. citizen      22,198                ±1,096
       Not a U.S. citizen            141,103               ±3,028
   18 years and over:                9,173,735             ±1,058
     Native                          7,364,741             ±8,390
     Foreign born:                   1,808,994             ±8,389
       Naturalized U.S. citizen      662,366               ±6,202
       Not a U.S. citizen            1,146,628             ±7,259




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Table: ACSDT5Y2011.B05003A



                SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (WHITE ALONE)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003A
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2011
DATASET:                      ACSDT5Y2011
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are White alone
FTP URL:                      https://www2.census.gov/programs‐surveys/acs/summary_file/2011/data/

API URL:                      https://api.census.gov/data/2011/acs/acs5

USER SELECTIONS
GEOS                          Texas
DATASETS                      ACS 5‐Year Estimates Detailed Tables

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?g=040XX00US48&d=ACS+5‐Year+Estimates+Detailed+Tables&tid=ACSDT5Y2011.B05003A




data.census.gov | Measuring America's People, Places, and Economy                                                                          1
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Table: ACSDT5Y2011.B05003A


TABLE NOTES                   Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Data and Documentation section.




                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau''s Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities and towns and estimates of housing units for states and counties.

                              Explanation of Symbols: * An ''**'' entry in the margin of error column indicates that either no sample observations or too
                              few sample observations were available to compute a standard error and thus the margin of error. A statistical test is not
                              appropriate.

                               * An ''‐'' entry in the estimate column indicates that either no sample observations or too few sample observations were
                              available to compute an estimate, or a ratio of medians cannot be calculated because one or both of the median estimates
                              falls in the lowest interval or upper interval of an open‐ended distribution.

                               * An ''‐'' following a median estimate means the median falls in the lowest interval of an open‐ended distribution.

                               * An ''+'' following a median estimate means the median falls in the upper interval of an open‐ended distribution.

                               * An ''***'' entry in the margin of error column indicates that the median falls in the lowest interval or upper interval of an
                              open‐ended distribution. A statistical test is not appropriate.

                               * An ''*****'' entry in the margin of error column indicates that the estimate is controlled. A statistical test for sampling
                              variability is not appropriate.

                               * An ''N'' entry in the estimate and margin of error columns indicates that data for this geographic area cannot be displayed
                              because the number of sample cases is too small.

                               * An ''(X)'' means that the estimate is not applicable or not available.




data.census.gov | Measuring America's People, Places, and Economy                                                                                                2
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                              Estimates of urban and rural population, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2000 data. Boundaries for urban areas have not been updated since Census 2000. As a result, data for urban and
                              rural areas from the ACS do not necessarily reflect the results of ongoing urbanization.

                              While the 2007‐2011 American Community Survey (ACS) data generally reflect the December 2009 Office of Management
                              and Budget (OMB) definitions of metropolitan and micropolitan statistical areas; in certain instances the names, codes, and
                              boundaries of the principal cities shown in ACS tables may differ from the OMB definitions due to differences in the effective
                              dates of the geographic entities
                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see Accuracy of the Data). The effect of nonsampling error is not represented in these
                              Source: U.S. Census Bureau, 2007‐2011 American Community Survey


COLUMN NOTES                  None




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Table: ACSDT5Y2011.B05003A


                                      Texas

  Label                               Estimate               Margin of Error
Total:                               18,093,212            ±22,645
 Male:                               8,983,984             ±12,665
   Under 18 years:                   2,406,410             ±6,638
     Native                          2,305,572             ±6,799
     Foreign born:                   100,838               ±2,489
       Naturalized U.S. citizen      10,240                ±740
       Not a U.S. citizen            90,598                ±2,469
   18 years and over:                6,577,574             ±8,173
     Native                          5,512,755             ±8,490
     Foreign born:                   1,064,819             ±8,094
       Naturalized U.S. citizen      300,665               ±3,733
       Not a U.S. citizen            764,154               ±7,843
 Female:                             9,109,228             ±11,805
   Under 18 years:                   2,299,086             ±6,318
     Native                          2,206,282             ±6,547
     Foreign born:                   92,804                ±2,332
       Naturalized U.S. citizen      9,611                 ±739
       Not a U.S. citizen            83,193                ±2,264
   18 years and over:                6,810,142             ±7,407
     Native                          5,765,852             ±7,574
     Foreign born:                   1,044,290             ±7,233
       Naturalized U.S. citizen      346,225               ±4,862
       Not a U.S. citizen            698,065               ±5,834




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Table: ACSDT5Y2011.B05003B


    SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (BLACK OR AFRICAN AMERICAN
                                      ALONE)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003B
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2011
DATASET:                      ACSDT5Y2011
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are Black or African American alone
FTP URL:                      https://www2.census.gov/programs‐surveys/acs/summary_file/2011/data/

API URL:                      https://api.census.gov/data/2011/acs/acs5

USER SELECTIONS
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=American+Community+Survey+2007‐2011&g=040XX00US48&tid=ACSDT5Y2011.B05003B




data.census.gov | Measuring America's People, Places, and Economy                                                                         1
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Table: ACSDT5Y2011.B05003B


TABLE NOTES                   Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Data and Documentation section.




                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau''s Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities and towns and estimates of housing units for states and counties.

                              Explanation of Symbols: * An ''**'' entry in the margin of error column indicates that either no sample observations or too
                              few sample observations were available to compute a standard error and thus the margin of error. A statistical test is not
                              appropriate.

                               * An ''‐'' entry in the estimate column indicates that either no sample observations or too few sample observations were
                              available to compute an estimate, or a ratio of medians cannot be calculated because one or both of the median estimates
                              falls in the lowest interval or upper interval of an open‐ended distribution.

                               * An ''‐'' following a median estimate means the median falls in the lowest interval of an open‐ended distribution.

                               * An ''+'' following a median estimate means the median falls in the upper interval of an open‐ended distribution.

                               * An ''***'' entry in the margin of error column indicates that the median falls in the lowest interval or upper interval of an
                              open‐ended distribution. A statistical test is not appropriate.

                               * An ''*****'' entry in the margin of error column indicates that the estimate is controlled. A statistical test for sampling
                              variability is not appropriate.

                               * An ''N'' entry in the estimate and margin of error columns indicates that data for this geographic area cannot be displayed
                              because the number of sample cases is too small.

                               * An ''(X)'' means that the estimate is not applicable or not available.




data.census.gov | Measuring America's People, Places, and Economy                                                                                                2
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Table: ACSDT5Y2011.B05003B



                              Estimates of urban and rural population, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2000 data. Boundaries for urban areas have not been updated since Census 2000. As a result, data for urban and
                              rural areas from the ACS do not necessarily reflect the results of ongoing urbanization.

                              While the 2007‐2011 American Community Survey (ACS) data generally reflect the December 2009 Office of Management
                              and Budget (OMB) definitions of metropolitan and micropolitan statistical areas; in certain instances the names, codes, and
                              boundaries of the principal cities shown in ACS tables may differ from the OMB definitions due to differences in the effective
                              dates of the geographic entities
                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see Accuracy of the Data). The effect of nonsampling error is not represented in these
                              Source: U.S. Census Bureau, 2007‐2011 American Community Survey


COLUMN NOTES                  None




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Table: ACSDT5Y2011.B05003B


                                       Texas

  Label                                Estimate              Margin of Error
Total:                                2,917,108            ±5,180
 Male:                                1,407,027            ±3,260
   Under 18 years:                    428,291              ±2,403
     Native                           420,066              ±2,557
     Foreign born:                    8,225                ±841
       Naturalized U.S. citizen       1,681                ±345
       Not a U.S. citizen             6,544                ±741
   18 years and over:                 978,736              ±1,970
     Native                           909,849              ±3,401
     Foreign born:                    68,887               ±3,055
       Naturalized U.S. citizen       31,225               ±1,565
       Not a U.S. citizen             37,662               ±2,151
 Female:                              1,510,081            ±3,305
   Under 18 years:                    409,795              ±2,170
     Native                           401,227              ±2,256
     Foreign born:                    8,568                ±952
       Naturalized U.S. citizen       1,615                ±304
       Not a U.S. citizen             6,953                ±883
   18 years and over:                 1,100,286            ±2,134
     Native                           1,037,164            ±3,299
     Foreign born:                    63,122               ±2,316
       Naturalized U.S. citizen       30,313               ±1,589
       Not a U.S. citizen             32,809               ±1,606




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Table: ACSDT5Y2011.B05003D



                SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (ASIAN ALONE)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003D
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2011
DATASET:                      ACSDT5Y2011
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are Asian alone
FTP URL:                      https://www2.census.gov/programs‐surveys/acs/summary_file/2011/data/

API URL:                      https://api.census.gov/data/2011/acs/acs5

USER SELECTIONS
GEOS                          Texas
DATASETS                      ACS 5‐Year Estimates Detailed Tables

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?g=040XX00US48&d=ACS+5‐Year+Estimates+Detailed+Tables&tid=ACSDT5Y2011.B05003D




data.census.gov | Measuring America's People, Places, and Economy                                                                          1
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Table: ACSDT5Y2011.B05003D


TABLE NOTES                   Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Data and Documentation section.




                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau''s Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities and towns and estimates of housing units for states and counties.

                              Explanation of Symbols: * An ''**'' entry in the margin of error column indicates that either no sample observations or too
                              few sample observations were available to compute a standard error and thus the margin of error. A statistical test is not
                              appropriate.

                               * An ''‐'' entry in the estimate column indicates that either no sample observations or too few sample observations were
                              available to compute an estimate, or a ratio of medians cannot be calculated because one or both of the median estimates
                              falls in the lowest interval or upper interval of an open‐ended distribution.

                               * An ''‐'' following a median estimate means the median falls in the lowest interval of an open‐ended distribution.

                               * An ''+'' following a median estimate means the median falls in the upper interval of an open‐ended distribution.

                               * An ''***'' entry in the margin of error column indicates that the median falls in the lowest interval or upper interval of an
                              open‐ended distribution. A statistical test is not appropriate.

                               * An ''*****'' entry in the margin of error column indicates that the estimate is controlled. A statistical test for sampling
                              variability is not appropriate.

                               * An ''N'' entry in the estimate and margin of error columns indicates that data for this geographic area cannot be displayed
                              because the number of sample cases is too small.

                               * An ''(X)'' means that the estimate is not applicable or not available.




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Table: ACSDT5Y2011.B05003D



                              Estimates of urban and rural population, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2000 data. Boundaries for urban areas have not been updated since Census 2000. As a result, data for urban and
                              rural areas from the ACS do not necessarily reflect the results of ongoing urbanization.

                              While the 2007‐2011 American Community Survey (ACS) data generally reflect the December 2009 Office of Management
                              and Budget (OMB) definitions of metropolitan and micropolitan statistical areas; in certain instances the names, codes, and
                              boundaries of the principal cities shown in ACS tables may differ from the OMB definitions due to differences in the effective
                              dates of the geographic entities
                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see Accuracy of the Data). The effect of nonsampling error is not represented in these
                              Source: U.S. Census Bureau, 2007‐2011 American Community Survey


COLUMN NOTES                  None




data.census.gov | Measuring America's People, Places, and Economy                                                                                           3
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Table: ACSDT5Y2011.B05003D


                                       Texas

  Label                                Estimate              Margin of Error
Total:                                939,558              ±2,885
 Male:                                457,309              ±1,800
   Under 18 years:                    116,954              ±1,110
     Native                           92,831               ±1,483
     Foreign born:                    24,123               ±1,271
       Naturalized U.S. citizen       6,026                ±578
       Not a U.S. citizen             18,097               ±1,091
   18 years and over:                 340,355              ±1,303
     Native                           54,687               ±1,580
     Foreign born:                    285,668              ±1,711
       Naturalized U.S. citizen       159,484              ±1,802
       Not a U.S. citizen             126,184              ±2,509
 Female:                              482,249              ±1,672
   Under 18 years:                    113,407              ±1,241
     Native                           88,317               ±1,513
     Foreign born:                    25,090               ±1,175
       Naturalized U.S. citizen       7,709                ±700
       Not a U.S. citizen             17,381               ±1,041
   18 years and over:                 368,842              ±1,185
     Native                           49,090               ±1,601
     Foreign born:                    319,752              ±1,875
       Naturalized U.S. citizen       184,244              ±1,965
       Not a U.S. citizen             135,508              ±2,327




data.census.gov | Measuring America's People, Places, and Economy                                     4
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Table: ACSDT5Y2011.B05003I



           SEX BY AGE BY NATIVITY AND CITIZENSHIP STATUS (HISPANIC OR LATINO)

Note: The table shown may have been modified by user selections. Some information may be missing.

DATA NOTES
TABLE ID:                     B05003I
SURVEY/PROGRAM:               American Community Survey
VINTAGE:                      2011
DATASET:                      ACSDT5Y2011
PRODUCT:                      ACS 5‐Year Estimates Detailed Tables
UNIVERSE:                     People who are Hispanic or Latino
FTP URL:                      https://www2.census.gov/programs‐surveys/acs/summary_file/2011/data/

API URL:                      https://api.census.gov/data/2011/acs/acs5

USER SELECTIONS
GEOS                          Texas

EXCLUDED COLUMNS              None

APPLIED FILTERS               None

APPLIED SORTS                 None

PIVOT & GROUPING
PIVOT COLUMNS                 None
PIVOT MODE                    Off
ROW GROUPS                    None
VALUE COLUMNS                 None

WEB ADDRESS                   https://data.census.gov/table?q=American+Community+Survey+2007‐2011&g=040XX00US48&tid=ACSDT5Y2011.B05003I




data.census.gov | Measuring America's People, Places, and Economy                                                                         1
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Table: ACSDT5Y2011.B05003I


TABLE NOTES                   Supporting documentation on code lists, subject definitions, data accuracy, and statistical testing can be found on the
                              American Community Survey website in the Data and Documentation section.




                              Sample size and data quality measures (including coverage rates, allocation rates, and response rates) can be found on the
                              American Community Survey website in the Methodology section.

                              Although the American Community Survey (ACS) produces population, demographic and housing unit estimates, it is the
                              Census Bureau''s Population Estimates Program that produces and disseminates the official estimates of the population for
                              the nation, states, counties, cities and towns and estimates of housing units for states and counties.

                              Explanation of Symbols: * An ''**'' entry in the margin of error column indicates that either no sample observations or too
                              few sample observations were available to compute a standard error and thus the margin of error. A statistical test is not
                              appropriate.

                               * An ''‐'' entry in the estimate column indicates that either no sample observations or too few sample observations were
                              available to compute an estimate, or a ratio of medians cannot be calculated because one or both of the median estimates
                              falls in the lowest interval or upper interval of an open‐ended distribution.

                               * An ''‐'' following a median estimate means the median falls in the lowest interval of an open‐ended distribution.

                               * An ''+'' following a median estimate means the median falls in the upper interval of an open‐ended distribution.

                               * An ''***'' entry in the margin of error column indicates that the median falls in the lowest interval or upper interval of an
                              open‐ended distribution. A statistical test is not appropriate.

                               * An ''*****'' entry in the margin of error column indicates that the estimate is controlled. A statistical test for sampling
                              variability is not appropriate.

                               * An ''N'' entry in the estimate and margin of error columns indicates that data for this geographic area cannot be displayed
                              because the number of sample cases is too small.

                               * An ''(X)'' means that the estimate is not applicable or not available.




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                              Estimates of urban and rural population, housing units, and characteristics reflect boundaries of urban areas defined based
                              on Census 2000 data. Boundaries for urban areas have not been updated since Census 2000. As a result, data for urban and
                              rural areas from the ACS do not necessarily reflect the results of ongoing urbanization.

                              While the 2007‐2011 American Community Survey (ACS) data generally reflect the December 2009 Office of Management
                              and Budget (OMB) definitions of metropolitan and micropolitan statistical areas; in certain instances the names, codes, and
                              boundaries of the principal cities shown in ACS tables may differ from the OMB definitions due to differences in the effective
                              dates of the geographic entities
                              Data are based on a sample and are subject to sampling variability. The degree of uncertainty for an estimate arising from
                              sampling variability is represented through the use of a margin of error. The value shown here is the 90 percent margin of
                              error. The margin of error can be interpreted roughly as providing a 90 percent probability that the interval defined by the
                              estimate minus the margin of error and the estimate plus the margin of error (the lower and upper confidence bounds)
                              contains the true value. In addition to sampling variability, the ACS estimates are subject to nonsampling error (for a
                              discussion of nonsampling variability, see Accuracy of the Data). The effect of nonsampling error is not represented in these
                              Source: U.S. Census Bureau, 2007‐2011 American Community Survey


COLUMN NOTES                  None




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                                       Texas

  Label                                Estimate              Margin of Error
Total:                                9,216,240            ±603
 Male:                                4,647,845            ±1,116
   Under 18 years:                    1,650,140            ±753
     Native                           1,523,133            ±2,607
     Foreign born:                    127,007              ±2,513
       Naturalized U.S. citizen       9,152                ±786
       Not a U.S. citizen             117,855              ±2,493
   18 years and over:                 2,997,705            ±772
     Native                           1,641,333            ±7,987
     Foreign born:                    1,356,372            ±8,015
       Naturalized U.S. citizen       323,287              ±3,594
       Not a U.S. citizen             1,033,085            ±8,222
 Female:                              4,568,395            ±1,084
   Under 18 years:                    1,582,300            ±752
     Native                           1,467,050            ±2,923
     Foreign born:                    115,250              ±2,791
       Naturalized U.S. citizen       8,940                ±616
       Not a U.S. citizen             106,310              ±2,742
   18 years and over:                 2,986,095            ±717
     Native                           1,724,587            ±6,386
     Foreign born:                    1,261,508            ±6,344
       Naturalized U.S. citizen       359,001              ±4,483
       Not a U.S. citizen             902,507              ±6,311




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